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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 UNITED STATES OF AMERICA,                                      :
                                                                :   ORDER DENYING REQUEST TO
                                                                :   ADJOURN
              -against-                                         :
                                                                :   19 Cr. 637 (AKH)
 ELIAS HAFEN,                                                   :
                                                                :
                                          Defendant.            :
                                                                :
 -------------------------------------------------------------- X
ALVIN K. HELLERSTEIN, U.S.D.J.:

                 Defendant, an investment adviser, committed a serious fraud against his

customers, siphoning $1.6 million from them to his own pockets, and leaving $745,000 unpaid,

and without probability of being paid all or most of that debt. His guidelines provided a

custodial range of 46 to 57 months; I sentenced him to 30 months, followed by three years of

supervised release, with custody to begin April 7, 2020. In fixing sentence, I took into

consideration defendant’s age, coronary condition, his medical and physical needs and other

relevant factors. At defendant’s request and without objection by the government, I adjourned

his reporting date several times, until October 23, 2020. Defendant now asks for another 60-day

postponement, to December 22, 2020.

                 I deny the request. The end of the Covid pandemic is not predictable, and

successive postponements are not acceptable. Defendant committed serious crimes over a seven

year period. Like other people who commit serious crimes, he must serve his term.

                 Defendant shall report to the place designated by the Bureau of Prisons or, failing

that, the MCC, at 2:00 pm on November 4, 2020.
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             SO ORDERED.

Dated:       October 16, 2020                __/s/ Alvin K. Hellerstein____________
             New York, New York                  ALVIN K. HELLERSTEIN
                                                 United States District Judge




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